          Case 3:20-cr-00389-DCG         Document 311        Filed 11/21/23    Page 1 of 5



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

UNITED STATES OF AMERICA,                     §

                                              §

                                              §
          v                                   §

                                              §

                                              §        No. 3:20-CR-00389
PATRICK WOOD CRUSIUS,                         §        (The Honorable David C. Guaderrama)
                                               §

                                               §
          Defendant.                           §

                                               §


                           MOTION FOR LEAVE TO FILE
               MOTION TO INTERVENE AND UNSEAL JUDICIAL RECORDS

          El Paso Matters, a nonprofit media organization focused on in-depth and investigative

reporting about the El Paso and Paso del Norte region, hereby moves for leave to intervene in the

above-captioned case for the limited purpose of seeking an order unsealing judicial records in this

matter. This Motion is made on the grounds that:

          1.     As a news organization, El Paso Matters may intervene for the limited purpose of

seeking an order unsealing court documents and opposing court closure.

          2.     On November 2, 2023, the United States (the "Government" or "prosecution") filed

a motion to unseal certain sealed records in the above-captioned case. El Paso Matters agrees with

the Government's argument that those records should be unsealed and, further, seeks to unseal the

remaining sealed records in this matter, including docket entries currently missing from the public

docket.

          3.     El Paso Matters has a First Amendment right to access judicial records filed with

the Court in this matter, and said constitutional right is not overcome.




                                                   1
       Case 3:20-cr-00389-DCG               Document 311      Filed 11/21/23     Page 2 of 5




       4.      El Paso Matters has a common law right to access judicial records filed with the

Court in this matter, and said common law right is not overcome.

       5.      To the extent compelling interests overcome El Paso Matters' constitutional and

common law rights of access as to any portion of the sealed records in this matter, any sealing or

closure must be n'o broader than necessary to serve those interests and must be supported by

specific, on-the-record factual findings.

       El Paso Matters seeks leave to file its Motion to Intervene and to Unseal Judicial Records,

attached hereto as,Exhibit A (the "Motion"). The Motion seeks to unseal all pleadings, records,

and files in the above-captioned case, all matters of which the Court shall take judicial notice, and

on such argument a may be presented at a hearing on its Motion.

                                 CONCLUSION AND PRAYER

       El Paso Matters respectfully requests that the Court grant its motion to intervene and permit

its Motion to Intervene and Unseal to be filed in this proceeding. El Paso Matters further requests

an order unsealing all pleadings, records and files in this matter.



Dated: November 21, 2023                               Respectfully submitted,

                                                      /s/Arnanda N. Crouch

                                                       Amanda N. Crouch
                                                       State Bar No. 24077401
                                                       JACKSON WALKER LLP
                                                       1900 Broadway, Suite 1200
                                                       San Antonio, TX 78215
                                                       acrouchjw.com

                                                      /s/ Katie Townsend

                                                       Katie Townsend*
                                                       REPORTERS COMMITTEE FOR
                                                       FREEDOM OF THE PRESS


                                                  2
Case 3:20-cr-00389-DCG   Document 311    Filed 11/21/23     Page 3 of 5



                                   1156 15th St. NW, Suite 1020
                                   Washington, D.C. 20005
                                   Phone: 202.795.9300
                                   Facsimile: 202.795.9310
                                   ktownsend@rcfp.org

                                   Counsel/or Proposed Intervenor
                                   El Paso Matters
                                   * Pro hac vice application pending




                               3
       Case 3:20-cr-00389-DCG          Document 311        Filed 11/21/23      Page 4 of 5



                              CERTIFICATE OF CONFERENCE

       I certify that I contacted Ian Hanna, counsel for the United States in this matter, and Joe

Spencer, counsel or Defendant, via e-mail on November 16, 2023, to ascertain their clients'

position on the relief sought by this Motion. The United States takes no position on this Motion

and the defense opposes it.

                                                                           /s/Amanda N. Crouch

                                                                              Amanda N. Crouch
                                                                     counselfor El Paso Matters
       Case 3:20-cr-00389-DCG             Document 311         Filed 11/21/23       Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was electronically filed on November 21, 2023.

Notice of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing

system. Parties ma' access this filing through the Court's system.

                                                                                /s/Amanda N. Crouch

                                                                                   Amanda N. Crouch
                                                                          Counsel for El Paso Matters
